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       EXHIBIT 10
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From:            cbpfoia@cbp.dhs.gov
To:              OversightProject
Subject:         CBP-FO-2023-053731
Date:            Thursday, March 9, 2023 10:24:32 AM




												

Mike Howell
The Heritage Foundation
214 Massachusetts Ave, NE
[Request|Requestor{Requestor}|Address 2]
Washington, District of Columbia 20002

03/09/2023

CBP-FO-2023-053731



Dear Mike Howell:

Your FOIA request was reviewed as a third-party request and did not include authorization that
information on this individual, or business, can be released to you. All third party FOIA requests
must include a signed G-28 or G-639 form, or a signed statement from the individual verifying that
his/her information may be released to you. Or, if requesting records pertaining to a business or
company, a signed statement on company letterhead. Due to privacy concerns, CBP cannot confirm
nor deny the existence of records on this individual or business.

Your FOIA request has been closed as insufficient. Please resubmit your FOIA request, along with the
required information, by logging into your existing SecureRelease account.

Sincerely,

U.S. Customs and Border Protection


This message (including any attachments) contains confidential information intended for a
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you should delete this message and any disclosure, copying, or distribution of this message, or
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